      Case 1:20-cv-05861-EK-JRC Document 102 Filed 09/12/23 Page 1 of 2 PageID #: 563




                                            THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX                 LAW DEPARTMENT                                              JESSE N. ZILINSKI
Corporation Counsel                             100 CHURCH STREET                             Assistant Corporation Counsel
                                                NEW YORK, NY 10007                                    Phone: (212) 356-2381
                                                                                                        Fax: (212) 356-3509
                                                                                               Email: jzilinsk@law.nyc.gov


                                                                            September 12, 2023

       VIA ECF
       Hon. Eric R. Komitee
       United States District Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                              RE:     Saul Sabino v. City of New York, et al.,
                                      20-CV-5861 (EK) (JRC)

       Your Honor:

              I am an Assistant Corporation Counsel in the Office of the Hon. Sylvia O. Hinds-Radix,
       Corporation Counsel of the City of New York, and the attorney representing defendant the City
       of New York (“City”) in the above referenced matter. The City respectfully requests an
       extension of time to reply to Plaintiff’s Opposition Memorandum, from September 12, 2023, to
       September 27, 2023.

              This is the City’s first request for an extension of time to file its reply papers. Due to the
       timing of this request, the City was unable to obtain Plaintiff’s position.

               By way of brief background, on July 19, 2023, the Court issued a scheduling order,
       directing the: (i) defendants to answer or move to dismiss Plaintiff’s operative complaint by
       August 7, 2023; (ii) Plaintiff to serve any opposition to the motion on or before September 5,
       2023; and (iii) defendants to serve any reply to Plaintiff’s opposition on or before September 12,
       2023. (See Minute Entry dated July 19, 2023.)

             On August 4, 2023, defendant Ogle filed his Motion to Dismiss. (See ECF No. 94.) On
       August 7, 2023, the City filed its Motion to Dismiss. (See ECF No. 98.)
Case 1:20-cv-05861-EK-JRC Document 102 Filed 09/12/23 Page 2 of 2 PageID #: 564




        Plaintiff’s Opposition has not yet been filed on the electronic docket. Today, however,
 the undersigned received Plaintiff’s Opposition Memorandum, dated September 1, 2023. 1
 Therefore, defense counsel for the City requires additional time to respond to Plaintiff’s
 Opposition and respectfully requests an extension of time to reply, from September 12, 2023, to
 September 27, 2023.

        The City thanks the Court for its consideration.

                                                     Respectfully submitted,

                                                     ___                               .
                                                     Jesse N. Zilinski
                                                     Assistant Corporation Counsel
                                                     Special Federal Litigation Division

 CC:    VIA FIRST CLASS MAIL
        Saul Sabino
        DIN: 23B0946
        Franklin Correctional Facility
        62 Bare Hill Road
        P.O. Box 10
        Malone, NY 12953

        VIA ECF
        Andrew Blancato, Esq.
        New York State Office of the Attorney General
        28 Liberty Street, 18th Floor
        New York, New York 10005
        Attorney for James Ogle




 1
  It appears that the Law Department’s Communication Unit received Plaintiff’s Opposition
 Memorandum just yesterday, September 11, 2023.


                                                 2
